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          for the Reorgallized Debtors

    UNITED STriTES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

                                                              1
    111re:                                                    1
                                                              )     Chapter 11
                          t &,
    Calpiiie Corporation, g                                   1
                                                              )     Case No. 05-60200 (BRL)
                               Reorganized Debtors.           )     Joiiltly Adn~itlistered



         DEC1,ARA'CION OF GUY TIPTON IN SUPPORT OF REORGANIZED DEBTORS'
                      RIOrl'IONFOR SUhlhIAI<Y JUDGMENT DISCHARGING
                S A I TRUST'S CLAIM NOS. 6309,6314,6315,6316,6327 AN13 6328

    -.


              1.       I, Guy Tipton, am over tlie age of eighteen and al I of the following state~ilei~ts
                                                                                                        are

    made based on my persoiial knowledge and if called upon, I would testify thereto under oath. 1

    niake this declaratio~litz support of the Kcorganized Debtors' Motion For Summary Adjudication
    Disclzarging SAI Trust's Claiilis Nos. 6309, 63 14, 63 15, 6316, 6327 and 6328. (the "Motion").'
             A.        Backgroutirl Of Calpinc's Operations At The Gcysers.

             2.        I am enlployed by Calpi~lcOperating Services Company, Inc., as Regio~ial
    Cotltroller for the Geysers facilities, including the West Ford Plant. I havc beell in this positio~i


    1    Ally capilalizetl ter~nsused Ilercin but not olhel.wise detined shall lisvc thc sanle ~neariingns nscribcd to the111in
         thc Motion.
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    since 1999, under various titles. Prior to working as the Regional Controller, 1 worked as a plant
   operator at the Geysers for appi-oximately 12 ycars. I subiilitted a Declaratioi~in support of
   Debtors' Objectio~ito SAI Trust's Motion for Relief Froiii Stay and Reply to SAI Trust's
   Respol~seto the Debtor's Eleventh Olllrlibus Clainls Objection to SAI Trust's Proofs of Claitn
   and I incorporate that declaratioii herein.

            3.     111   1984 SAI Trust entered a lorig term elect~~icily
                                                                       purchase agreeilieilt (i.e., a
   Qualifying Facility ("QF") standard offer power pl~rcllaseagreement) with Pacific Gas and
   Elcctric ("PG&EW). h~ the late 1980s a power plant was built at The Geyscrs, currently hiown as
   the West Ford Flat plant ("West Ford Planl"), to provide the power to PG&B. At the time SAI
   T~ust'spredecessor entered into QF contract with PG&E, the West I:ol-d Plant had not bee11 built.
                           that an affiliate of SAI T n ~ s twas retained to design a11d c o n s t ~ ~ tlzc
   It is my u~~derstarldilig                                                                           ~ct
   plant.
            4.     Calpirie did not own or operate ally power plants at The Geysers at that time and
   did not beco111e i~~volved
                           at The Geysers until 1 989, when it purchased a one megawatt interest
   in the Aidlin plant. Prior to 1998, Calpitle came to ow11 or have interests in four plants spread
   across tlie 30 square miles of the Geysers steal11 field, including the West Ford Plant.
            B.     The Debtors Properly Allocate Costs To SAI 'I'rnst.

            5.     In the Purchase Agreement, a copy of which is attached to the Motion as Exl~ibit

   B, SAI Trust sold its interests in the 1984 QF power purcl~aseagree~nerltbetween PG&E and
   SAI Geothent~al,Inc. to Freeport, but retained the rights to montl~lynet profit intcrest paylileilts
   fro111 opcratioli of the West Ford Plant (the "Project"). The Purcl~aseAgreerneilt defines Net
   Income and sets forth the Net PI-ofitIntcrcst. Attached to the Purchase Agrccl~ici~t
                                                                                     is "Exhibit F"
   which is a standard "Accountit~gProcedure Joint Operations" section of 111odelcontracts drafted
   by tlie Comii~ittee on Petroleum Acco~mting Standards. There is no reference to SAI Geotlier~nal

   or Freeport in Exhibit F, and it is my understanding that the parties did not di;?Tt Exhibit F,
   instead Exhibit F iiicoi+poratesaccounting procedures for joirit operatiot~sused in the petroleum
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    industry,
             6.     I set farth the details of Calpine's dlacwtion of direct operating expenses in detail
    in my First Declaration. Further relevant information includes the fact             that, beginnihg   in
    approximateIy 1999 CaIpirie acquired 14 generating units at The Geysers from P G M olnd the
    related UnocaI steam f d d s and tben owned substantialIy all of the generating units and steam
    fields at The Geysers. The Reorganized Debtors awn 19 of 22 generating uhits af The Geysers,
    Ia 1999, Cdpine began to streamline and masolidate the operation of the plants and the steam
    fields into operational areas, and a11 its Geysers units into one consoli$ated operatiail. For
    e ~ m p kCaIpine
             ,       consolidated its technical employees (e.g., chemist%operators, and engineera)
    into deparhents based upon job classification, The change facilitated Calpine's ability to
    support multiple p h t s and eliminate the cost of duplicating fhia technical expertise at each
    plant.    Calpii~e consolidated its operation and business units with the intent to acbieve
    efficiencies and costs savings associated with economies of scale.
             7.     Attached as Exhihit C to the Motion is a true and correct copy CaIpine's Geysers
    website describing its operations. As stated on Calpine's website, Calpine's efforts at The
    Geysers, including its consolidated operations have garnered Calpine the "Outstanding       ease and
    Facility Maintenance Award" from the California Department of Consemation for exlviromerlta1
    cleanup, infrastructure maintenance and safety fur six conswutive yws,


             I declare under penalty of perjury pursuant to 28 U.S.C. section 1746 that the foregoing is

    true and correct. Signed tlis 13th day of August, 2008.
